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                              Honorable John G. Koeltl
                              Daniel Patrick Moynihan
                              United States Courthouse,
                              Courtroom 14A
                              500 Pearl St.
                              New York, NY 10007-1312




                                                                           1.3.2025


Dear Judge Koeltl,

I am J        M         .I       and I study at                 .

I believe that my dad Alex Mashinsky does not deserve a long sentence because he is a good man
and has not done anything severe.

All the time when we go outside, he tells me to give some money to the homeless when we see them.

Him and I are also working on a book called Defying Gravity that will explain gravity.

Judge, I really think you should read this book.

For all this is why I think you should give him 6 months on either house arrest or probation. We need him.

I hope you take my words into consideration.

J        M.

NYC




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